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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


BP PRODUCTS NORTH AMERICA,
INC.,

       Plaintiff(s),

v.                                                  CASE NO: 8:07-cv-1893-T-30MAP

GIANT OIL, INC., et al.,

      Defendant(s).
____________________________________/

                                  ORDER OF DISMISSAL

       Before the Court is the Stipulation of Dismissal With Prejudice (Dkt. #48). Upon

review and consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.      This cause is dismissed with prejudice, each party to bear its own costs.

       2.      All pending motions are denied as moot.

       3.      The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida on October 31, 2011.




Copies furnished to:
Counsel/Parties of Record

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